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                             IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 MIRDUH SPAHIJA,                                  CASE NO.: 1:22-cv-01986

                Plaintiff,                        JUDGE: DONALD C. NUGENT
     v.

 RAE-ANN HOLDINGS, INC., et al.,                  PROPOSED ORDER

                Defendants.

          Plaintiff’s Unopposed Motion for an Extension of Time to Respond to Defendants’ Motion

for Summary Judgment on Plaintiff’s Claims is well taken and granted. Plaintiff shall have until

August 29, 2023, to file his Brief in Opposition to Defendants’ Motion for Summary Judgment on

Plaintiff’s Claims.

          IT IS SO ORDERED.




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JUDGE DONALD C. NUGENT



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DATE
